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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     HEY, INC.,                                         Case No. 22-mc-80034-DMR
                                   8                    Plaintiff,
                                                                                            ORDER GRANTING AS UNOPPOSED
                                   9             v.                                         MOTION TO STAY PENDING
                                                                                            APPEAL
                                  10     TWITTER, INC.,
                                                                                            Re: Dkt. No. 25
                                  11                    Defendant.

                                  12          Petitioner hey, Inc. (“hey”) filed an ex parte application pursuant to 28 U.S.C. § 1782 to
Northern District of California
 United States District Court




                                  13   obtain discovery from Respondent Twitter, Inc. (“Twitter”) for use in foreign proceedings. The

                                  14   court granted hey’s application and authorized issuance of a subpoena to Twitter and gave Twitter

                                  15   and the interested Twitter account holder(s) the opportunity to contest it. Twitter filed a motion to

                                  16   quash the subpoena and Twitter users John Doe 1 and John Doe 2, the anonymous users of the

                                  17   accounts @cogitopp and @mlnk901, joined the motion to quash. The court denied the motion to

                                  18   quash on June 6, 2023. [Docket No. 23.] Does 1 and 2 then filed a motion to stay the court’s June

                                  19   6, 2023 Order to the extent that it pertains to them pending their appeal to the United States Court

                                  20   of Appeals for the Ninth Circuit. The motion to stay is set for hearing on July 27, 2023. [Docket

                                  21   Nos. 25, 32.]
                                              Any brief in opposition to the motion to stay was due by June 29, 2023. No opposition
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                                       was filed. On July 10, 2023, the court issued an Order to Show Cause in which it ordered hey to
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                                       respond by July 14, 2023 and show cause for its failure to respond to the motion in accordance
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                                       with Civil Local Rule 7-3(a) or alternatively to file a statement of nonopposition to the motion as
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                                       required by Civil Local Rule 7-3(b). [Docket No. 35.] The court warned hey that its failure to
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                                       respond to the Order to Show Cause could result in the motion to stay being granted. Id.
                                  27
                                              hey did not file a response to the Order to Show Cause. Accordingly, the motion to stay is
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                                         Case 4:22-mc-80034-DMR Document 36 Filed 07/19/23 Page 2 of 2




                                   1   hereby granted as unopposed. The portion of the court’s June 6, 2023 Order directing Twitter

                                   2   to produce documents responsive to hey’s subpoena is stayed as to John Doe 1 and John Doe

                                   3   2 pending final resolution of their appeal of the June 6, 2023 Order.

                                   4          The court’s ruling on the motion to stay does not excuse hey’s failure to respond to the

                                   5   Order to Show Cause. The court grants hey until July 26, 2023 to file a response to the Order to

                                   6   Show Cause. Failure to file a timely response may result in sanctions.
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                                              IT IS SO ORDERED.




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                                       Dated: July 19, 2023
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Northern District of California




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